Case 1:07-cr-00518-.]F|\/| Document 18 Filed OS/23/1qQ'm)e‘&qf/RC/ha/ym\p/

CORTEZ FISHER #41427-037
F.C.I. FAIRTON - BOX 420
FAIRTON, NEW JERSEY 08320

MARCH 15, 2010

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CIVIL #JFM 07-0518 JF,(/{_[O-’?O@

HON: J. FREDERICK MOTZ, U.S.D.J.

UNITED STATES DISTRICT COURT

101 W. LOMBARD STREET

BALTIMORE, MARYLAND 21201-2691

MS. JOANNA SILVER, A.F.P.D.

100 S. CHARLES STREET, TOWER II

BALTIMORE, MARYLAND 21201

MR. ROD ROSENSTEIN, U.S. ATTORNEY

MR. PHILLIP S. JACKSON, A.U.S.A.

OFFICE OF UNITED STATES ATTORNEY

36 SOUTH CHARLES STREET, 4TH. FLR.

BALTIMORE, MARYLAND 21201

RE: MOTION FOR DISMISSAL OF INDICTMENT
BAS"U UPON POLICE MISCONDUCT AND
PROSECUTORIAL MISCONDUCT UNDER
BRADY MATERIAL.

DEAR SIR/MADAM:

PLEASE ACCEPT THIS LETTER-MOTION IN LIEU OF A MORE FORMAL

BRIEF AND MOTION REQUESTING THAT THIS MATTER BE OPENED

HEARING REQUESTING DISMISSAL OF THE FEDERAL INDICTMENT

FGR A

ON THE

GROUND THAT THE LAW ENFORCEMENT OFFICER THAT ARRESTED ME

PLANTED DRUGS, AND OTHER ACTIVITIES OF A CRIME ON ME A
APARTMEFT, AND SAID OFFICER FURTHER STOLE JEWELRY AND

FROM MY APARTMENT WHICH HE LATER GAVE TO A RELIABLE

ND IN MY

MONEY

 

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CONFIDENTIAL INFORMANT REGISTERED WITH THE BALTIMORE POLICE
DEPARTMENT UNDER CONTROL #2091, WHO LATER SOLD SUCH JEWELRY
FOR PROFITS WHICH HE SPLIT WITH OFFICER MARK JAMES LUNSFORD. I
FURTHER SUBMIT THAT SUCH INFORMANT NEVER GAVE OFFICER MARK
JAMES LUNSFORD INFORMATION CONCERNING DRUG ACTIVITIES AT 125
DENISON STREET, BALTIMORE, MD. 21229, OR INFORMATION
CONCERNING DRUG DEALING BY MYSELF. OFFICER MARK JAMES LUNSFORD
DID KNOWINGLY LIE ON A FEDERAL DOCUMENT AND TO A FEDERAL COURT
AND STATE COURT JUDGE IN ORDER TO OBTAIN A WARRANT FOR
PROBABLE CAUSE TO SEARCH. I AM NOW IN POSSESSION OF CERTAIN
DOCUMENT'S AND INFORMATION WHICH MAY PROVE THAT THIS OFFICER
COMMITTED PERJURY IN MY CASE AND THAT CERTAIN JEWELRY AND
WATCHES CONFISCATED FROM MARK JAMES LUNSFORD AT THE TIME OF
HIS ARREST AND THE SEARCH OF HIS HOME IN SYKESVILLE MAY BELONG
TO ME BASED UPON THE FACT THAT HE CONDUCTED THE SEARCH AT MY
APARTMENT AND AT THE TIME OF MY ARREST HE CONFISCATED MY KEYS
AND RETURNED TO THE APARTMENT LATER AND TOOK A SAFE CCNTAINING
ALL MY JEWELRY AND PERSONAL PROPERTY. NONE OF WHICH WAS LISTED
ON INVENTORY FORMS AS CONFISCATED. I HAVE PHOTO‘S OF NY WATCH
WHICH CONTAINS NUMEROUS DIAMONDS WITH BLUE AND RED DESIGNS AS
DETAILS.
I WOULD LIKE A FORM ADVISING ME OF ALL THE PROPERTY SEIZED
FROM MARK JAMES LUNSFORD HOME AND A REQUEST FOR PICTURES SO I
MAY IDENTIFY THE PROPERTY WHICH HE STOLE FROM ME.
I ALSO WOULD LIKE TO ASCERTAIN THE EXACT DATES THAT THE
GOVERNMENT WAS IN POSSESSION OF INFORMATION OR EVIDENCE THAT
OFFICER MARK JAMES LUNSFORD WAS A "ROGUE" NARCOTIC COP AND
WOULD BE CHARGED WITH CRIMINAL MISCONDUCT. I

BELIEVE THAT SUCH FACTS WAS WITHHELD AS BRADY MATERIAL DURING

 

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MY DISCOVERY PROCESS.

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1 ALSO BELIEVE THAT A HEARING SHOULD BE HELD IN FHIS

MATTER IN THE "INTEREST OF JUSTICE" BECAUSE 1 HAVE ALNAYS

MAINTAINED TO MY LAWYER THAT THIS OFFICER (MARK JAMES
LUNSFORD) SET ME UP AND ARRESTED ME UNLAWFULLY. I AM
REQUESTING THE COURT SET A DATE FOR THIS MATTER TO BE
REGARDS THE DISMISSAL OF THE FEDERAL INDICTMENT.

A RESPONSE AT YOUR EARLIEST CONVENIENCE IS RESPE
REQUESTED. THANKING YOU IN ADVANCE FOR YOUR TIME, ATTI
AND AID.

RESPECTFULLY SUBMITTED,

CORTEZ FISHER

HEARD AS

:TFULLY

ENTION,

 

